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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

   MELANIE DAVIS, on behalf of herself and           Civil Case No.: 18-cv-81004
   all others similarly situated,
                                                     Judge: Hon. Roy K Altman
                          Plaintiff,                 Magistrate Judge: Hon. Dave Lee Brannon
   v.

   POST UNIVERSITY, INC.,

                          Defendant.



                     JOINT MOTION TO AMEND SCHEDULING ORDER

         Plaintiff Melanie Davis (“Plaintiff”) and Defendant Post University, Inc. (“Post”) hereby

  ask the Court to amend the currently operative scheduling. This extension is necessary for the

  Parties to comply with their agreement on how to resolve the discovery dispute that was set for

  hearing on June 6, 2019 at 2:00 PM.

         Specifically, the Parties request that the deadline for Plaintiff to file her Motion for Class

  Certification be adjourned from June 10, 2019 to July 12, 2019. With 21 days to oppose and 14

  days to reply, briefing would be complete on or before August 16.

         Rather than set dates subsequent to the Class Certification deadline at this time, the Parties

  request that the Court set a scheduling conference after the Court decides Plaintiff’s Motion for

  Class Certification to set dates through trial. Even without the extension requested herein, there is

  only four months between Plaintiff’s Motion for Class Certification filing deadline and the trial

  date. The current schedule would also require dispositive motions to be filed before the Motion for

  Class certification is fully briefed (let alone decided). In the interest of efficiency, the Parties

  request that the Court resolve the Motion for Class Certification before determining subsequent

  dates, as the resolution—both in timing and result—will ultimately drive those dates.
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         In the event the Court would prefer to adhere to the relative timing of the current schedule,

  the Parties propose the following adjustments:

                                        Current Deadline                     Proposed Deadline

   Class Certification                    June 10, 2019                           July 12, 2019

   Pretrial Motions                       June 28, 2019                          August 2, 2019

   Pretrial Stip, Jury                    July 19, 2019                          August 23, 2019
   Instructions, Motions in
   Limine
   Trial                                October 15, 2019                    November 18, 2019




   Dated: June 6, 2019                                 s/ Bradford R. Sohn_________
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                                                       Attorneys for Plaintiff




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                                           By: /s/ Mary Joanne Dowd
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                                 CERTIFICATE OF SERVICE

          I hereby certify that on June 6, 2019, I filed the foregoing Motion through the Court’s
  electronic filing system and thereby served all filing users, including Defendant’s counsel of
  record.


   Dated: June 6, 2019                            s/ Bradford R. Sohn_________
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